CASE 0:22-cv-00098-JMB-JFD Doc. 76-1 Filed 02/01/23 Page 1 of 45




                 EXHIBIT A
       CASE 0:22-cv-00098-JMB-JFD Doc. 76-1 Filed 02/01/23 Page 2 of 45




                   IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MINNESOTA


 SMARTMATIC USA CORP., SMARTMATIC
 INTERNATIONAL HOLDING B.V. and SGO
 CORPORATION LIMITED,

                              Plaintiffs,
                                                     Case No. 22-cv-00098- WMW-JFD
                         v.

 MICHAEL J. LINDELL and MY PILLOW, INC.,

                              Defendants.



      DEFENDANT MY PILLOW, INC.’S FIRST SET OF REQUESTS FOR
       PRODUCTION OF DOCUMENTS AND THINGS TO PLAINTIFFS

       Pursuant to Federal Rule of Civil Procedure 34, Defendant My Pillow, Inc.

(“MyPillow”) hereby serves upon Smartmatic USA Corp., Smartmatic International

Holding, B.V., and SGO Corporation Limited (collectively, “Smartmatic” or “You”) by

and through undersigned counsel hereby serves the following Requests for Production of

Documents and Things (“Requests”) on Smartmatic.

       Smartmatic’s responses to these Requests should be provided in accordance with

the Federal Rules of Civil Procedure and shall be served together with all responsive

materials within thirty days of service of these Requests. The materials requested shall

be produced for inspection and copying at the offices of Parker Daniels Kibort, LLC, 888

Colwell Building, 123 North Third Street, Minneapolis, MN 55401, unless otherwise

agreed by the parties.
       CASE 0:22-cv-00098-JMB-JFD Doc. 76-1 Filed 02/01/23 Page 3 of 45




                                     INSTRUCTIONS

       1.     These Requests are continuing in nature. If, after responding, you obtain or

become aware of any additional materials responsive to these Requests, or additional

materials responsive to these Requests come into existence or come into your possession,

custody, or control, production of such additional materials shall be made forthwith as

required by Federal Rule of Civil Procedure 26(e).

       2.     Each Request requires the production of all responsive materials in your

possession, custody, or control, or of any of your attorneys, agents and any other persons

acting or purporting to act on behalf of any of them, or of any other Person from whom

you have the right to obtain materials, whether in hard copy or electronic form or in any

other form or from any other source, wherever located and however managed, and whether

active, in storage, or otherwise.

       3.     Each Document is to be produced (together with all drafts thereof) in its

entirety, without redaction or expurgation of any kind or nature whatsoever.

       4.     All materials are to be produced as kept in the usual course of business or

organized and labeled to correspond to the specific Requests set forth below.

       5.     If a Request seeks the identification or production of materials that are not

within your actual or constructive possession, custody, or control, you shall so state and

shall answer the Request based on the best information presently available. If you have

knowledge or belief as to other Persons who have possession, custody, or control of such

materials, you shall so identify, to the extent known and based on the best information

presently available, such Persons.

                                             2
       CASE 0:22-cv-00098-JMB-JFD Doc. 76-1 Filed 02/01/23 Page 4 of 45




       6.     If any Documents requested herein are withheld under claim of privilege or

are not produced for whatever reason, you are requested at the time of responding to these

Requests to separately state in writing and with specificity for each Document withheld

from production (i) the claim of privilege or other reason asserted for withholding each

such Document, and (ii) all information supporting the claim of privilege or other reason

for withholding asserted as to each such Document, including without limitation the type

or nature of the Document withheld (e.g., letter, memorandum, email, etc.), its author and

all recipients (including any and all addressees and Persons to whom the Document was

copied or blind copied, as well as Persons to whom the Document was distributed or given

or shown though not reflected on the Document as a recipient), the date of the Document,

and a description of the substance of the Document, all in a manner sufficient to allow each

Document to be described to the Court in order for the Court to rule on the claim of

privilege or other reason asserted for withholding it from production. You are further

requested to provide all requested information that is not subject to a claim of privilege, or

other reason for nonproduction, by excising or otherwise protecting the portions for which

a privilege is asserted, if such a technique does not result in disclosing the contents of the

portions for which some privilege is asserted.

       7.     Each of these definitions and instructions shall be fully applicable to each

Request, notwithstanding that a definition or instruction above may, in whole or in part, be

reiterated in a particular Request or that a particular Request may incorporate supplemental

instructions or definitions.



                                              3
       CASE 0:22-cv-00098-JMB-JFD Doc. 76-1 Filed 02/01/23 Page 5 of 45




       8.       Electronically stored information shall be produced in accordance with the

Stipulated ESI Protocol.

                                       DEFINITIONS

       1.       The “2020 Presidential Election” means all vote casting, vote collection, vote

counting, vote scanning, vote tabulation, vote reporting, or poll administration activities

connected with the election of the President of the United States in November 2020,

including preparations for any of these activities and early voting activities conducted

before November 2020.

       2.       To “administer” means to direct, organize, carry out, conduct, lead,

complete, advance, document, record, or facilitate a task or objective.

       3.       “Audit” means any procedure or effort to verify, double-check, review, or

investigate one or more election tallies or results.

       4.       “County” refers to a county, parish, or other equivalent subdivision of a State

or Territory.

       5.       “Cybersecurity Breach” means any incident of an unauthorized person

gaining access to a computer, computer network, or computerized product so as to be able

to read, copy, delete, change, or add software or other data stored on that computer,

computer network, or computerized product. Cybersecurity Breach includes both any real-

time intrusion and any intrusion through the transmission of a virus, computer program, or

other form of code. A “suspected Cybersecurity Breach” means any incident in which

someone suspected a Cybersecurity Breach had happened, was happening, or would soon

happen, without regard to whether that suspicion was ever confirmed or disconfirmed.

                                                4
       CASE 0:22-cv-00098-JMB-JFD Doc. 76-1 Filed 02/01/23 Page 6 of 45




       6.     “Smartmatic” means Smartmatic USA Corp., Smartmatic International

Holding B.V., and SGO Corporation Limited (collectively “Smartmatic”), and any

representative, director, officer, employee, or agent of any of those entities.

       7.     “Hardware” means a physical object that makes up part or all of a

computerized device. Hardware includes, but is not limited to, any computer, server,

scanner, router, modem, copier, printer, mobile phone, and tablet, and the constituent

components of any of these.

       8.     “Mr. Lindell” refers to Defendant Michael Lindell and any person acting

with authority to act on his behalf.

       9.     “My Pillow” means My Pillow, Inc. including any director, officer,

employee, or agent of My Pillow, Inc. acting with authority to act on behalf of My Pillow,

Inc.

       10.    “Software” means any electronically stored information that has the ability

or potential ability to direct the operation of any Hardware. Software includes, but is not

limited to, computer programs, source code, patches, updates, revisions, upgrades, and

executable electronic files.

       11.    “State” means any political subdivision of the United States of America,

including the fifty states represented in the United States Senate, the District of Columbia,

and any territory administered by the United States of America.

       12.    “Smartmatic Product” and “Smartmatic Products” mean the products or

services identified in Paragraphs 6, 8, 10, 26, 29, 31, 42, and 49 of the Complaint.



                                              5
       CASE 0:22-cv-00098-JMB-JFD Doc. 76-1 Filed 02/01/23 Page 7 of 45




       9.     “Supply” or “Supplied” means manufacture, distribute, lease, sell, deliver,

permit to use, or otherwise provide.

       10.    “Support” or “Supported” means to directly or indirectly provide services to

assist or facilitate the use, management, or operation of an electronic device.

       11.    “You,” “you” and “your” mean Smartmatic and any persons purporting to

act on Smartmatic’s behalf.

       12.    “Document” has the broadest possible meaning consistent with Federal Rule

of Civil Procedure 34(a)(1)(A). The term “Document” also specifically includes all

electronic documents, electronic Communications, and other “electronically stored

information” and all attachments thereto.

       13.    “Communication” or “Communications” means a transfer of information in

any form, including, without limitation, notes, complaints, diaries, journals, datebooks,

reports, calendars, telephone messages, letters, email messages, instant messages (such as,

but not limited to, Signal, Cisco Jabber, IBM Sametime, Wickr, ICQ, Kik, BBM, Gchat,

iMessage, Telegram, WhatsApp, Slack, and similar types of messages), cell phone text

messages (SMS messages and MMS messages), voicemail messages, Slack messages or

other internal messaging system communications, social media communications or posting

on sites including but not limited to Facebook, Twitter, YouTube, Instagram, Gab, or Parler

(including any direct messages), website postings, internet chat-room postings, lists,

correspondence, drawings, designs, telegrams, manuals, summaries or records of personal

conversations, logs, minutes or records of meetings, minutes of any other type, transcripts

of oral testimony or statements, affidavits, or summaries of investigations. The term

                                              6
          CASE 0:22-cv-00098-JMB-JFD Doc. 76-1 Filed 02/01/23 Page 8 of 45




“Communications” includes internal communications and communications with third

parties

          14.   “Electronically stored information” or “ESI” has the same meaning as

defined in the Stipulated ESI Protocol.

          15.   The term “identify” means as follows:

          a.    when used in reference to an artificial person or entity such as a corporation

                or partnership means to state (1) the organization’s full name and trade name,

                if any; (2) the address and telephone number of its principal place of

                business; and (3) the names and titles of those officers, directors, managing

                agents or employees who have knowledge of and would be designated to

                testify with respect to the matters involved;

          b.    when used in reference to a document means to (1) state the type of document

                (e.g., letter, memorandum, print-out, report, newspaper, etc.); (2) state the

                title and date, if any, of the document; (3) state the author’s name and

                address; (4) state the addressee’s name and address; (5) provide a brief

                description of its contents; (6) indicate the present location of the document;

                and (7) provide the name and address of the person or persons having custody

                over the document. If any such document was, but is no longer, in your

                possession, custody, or subject to your control, state what disposition was

                made of it. In all cases where you are requested to identify particular

                documents, in lieu of such identification you may supply a fully legible copy

                of the document in question. This permission, however, shall in no way

                                                7
       CASE 0:22-cv-00098-JMB-JFD Doc. 76-1 Filed 02/01/23 Page 9 of 45




              prejudice Plaintiff’s right to require production and allow inspection of all

              records in your possession

        c.    when used in reference to a natural person means to state (1) the person’s full

              name; (2) the person’s present or last known address; (3) the person’s present

              or last known telephone number; and

       d.     when used in reference to an oral communication, means to state: (1) the

              identity of all individuals participating or present; (2) the date and time of the

              communication; (3) where the communication took place; (4) the type of

              communication (e.g., in person, telephone, etc.); and (5) the substance of the

              communication.

       16.    “Concerning” means without limitation, containing, reflecting, referring to,

alluding to, discussing, relating to, describing, evidencing, supporting, or constituting.

       17.    “Person” means any natural person or any legal entity, including, without

limitation, any business or governmental entity or association.

       18.    The terms “related to,” “relates to” or “relating to” mean, refer to, pertain

to, reflect, record, describe, allude to, respond to, announce, explain, discuss, show, study,

analyze or constitute or be in any other way connected with the matter discussed.

       19.    The present tense includes the past and future tenses. The singular includes

the plural, and the plural includes the singular. “All” means “any and all”; “any” means

“any and all.” “Including” means “including but not limited to.” “And” and “or”

encompass both “and” and “or.” Words in the masculine, feminine or neutral form shall

include every gender.

                                               8
      CASE 0:22-cv-00098-JMB-JFD Doc. 76-1 Filed 02/01/23 Page 10 of 45




                           REQUESTS FOR PRODUCTION

       REQUEST NO. 1: An exemplar of each Smartmatic Product used by any county,

precinct, election site, or polling location in the State of California to administer the 2020

Presidential Election.

       REQUEST NO. 2: Documents regarding, concerning, or consisting of the results

of any Audit of election results conducted by You or with Your assistance or cooperation

for State of California or any county or voting precinct therein after the 2020 Presidential

election.

       REQUEST NO. 3: Written communications with any entity listed in Paragraph 51

of the Complaint from January 1, 2005, to the present.

       REQUEST NO. 4: Documents consisting of or containing references to any of the

entities listed in Request No. 3 above, that also relate to the 2020 U.S. Election, this

litigation, or any allegation in the Complaint.

       REQUEST NO. 5: In Paragraph 32 of the Complaint, You reference “case

studies,” and in Paragraph 33, You identify “references” that improve Smartmatic’s

business. Produce each written case study and written reference referenced in those

Paragraphs, and all related documents and communications.

       REQUEST NO. 6: All user manuals, user guides, and owner or user

documentation provided by Smartmatic to any purchaser, lessor, or user of Hardware that

was a Smartmatic Product, used in the State of California or any county thereof to

administer the 2020 Presidential Election.

       REQUEST NO. 7: Documents regarding, concerning, or communications with,

                                              9
       CASE 0:22-cv-00098-JMB-JFD Doc. 76-1 Filed 02/01/23 Page 11 of 45




including, or referencing the Republican National Committee or Democratic National

Committee from January 1, 2016, to the present.

       REQUEST NO. 8: The source code for any Smartmatic Product, Hardware,

Software, or systems used in the 2020 Presidential Election in any county, precinct,

election site, or polling location in the State of California.

       REQUEST NO. 9: All user manuals, user guides, and owner or user

documentation provided by Smartmatic to any purchaser, lessor, or user of a Smartmatic

Product used to administer the 2020 Presidential Election.

       REQUEST NO. 10:               Any Hardware and Software in the possession, custody,

or control of Smartmatic that was used to administer the 2020 Presidential Election in any

jurisdiction in any State.

       REQUEST NO. 11:               All Documents supporting Your allegations that any

statement by Mr. Lindell or attributable to Mr. Lindell caused damages to Smartmatic.

       REQUEST NO. 12:               All Documents showing or tending to show that a

statement by any person other than Mr. Lindell, related to the 2020 Presidential Election,

caused damages to Smartmatic.

       REQUEST NO. 13:               Any agreements or contracts between Smartmatic or

any parent, subsidiary, or affiliated entity and any State or County in the United States to

supply or support any Smartmatic Product, during the period January 1, 2005, to the

present.

       REQUEST NO. 14:               All documents that relate to the truth or falsity of every

allegation in Paragraph 134 of the Complaint.

                                               10
       CASE 0:22-cv-00098-JMB-JFD Doc. 76-1 Filed 02/01/23 Page 12 of 45




        REQUEST NO. 15:             Documents on which You intend to rely at any hearing

or trial of this litigation.

        REQUEST NO. 16:             Documents provided to or provided from any expert

witness who must produce a written report.

        REQUEST NO. 17:             Documents obtained by You in pursuant to any

subpoena or discovery relating to this litigation.

        REQUEST NO. 18:             Documents referenced in, identified by, or relied upon

in drafting the Complaint in this litigation. Any document stored in electronic format must

be produced in electronic format, regardless of the form in which it was attached to the

Complaint in electronic format.

        REQUEST NO. 19:             Documents related to the ownership of any interest in

any Smartmatic entity from the time of formation through the present.

        REQUEST NO. 20:             All documents concerning communications with any

U.S. federal or state authority about the certification, testing, approval, or security of any

Smartmatic Product used to administer the 2020 Presidential Election in any jurisdiction.

        REQUEST NO. 21:             All documents concerning any Cybersecurity Breach or

suspected Cybersecurity Breach related to Smartmatic, Smartmatic Products, or any

manufacturer of any component of a Smartmatic Product or any election-related product

manufactured, distributed, sold or licensed by any entity listed inn Paragraph 51 of the

Complaint.




                                              11
      CASE 0:22-cv-00098-JMB-JFD Doc. 76-1 Filed 02/01/23 Page 13 of 45




      REQUEST NO. 22:            All documents containing communications with or

among Smartmatic or any representative, employee, officer, or agent of the government of

Venezuela.


DATED: November 4, 2022.                PARKER DANIELS KIBORT LLC
                                        By /s/ Matthew R. Eslick
                                        Andrew D. Parker (MN Bar No. 195042)
                                        Matthew R. Eslick (MN Bar No. 388494)
                                        888 Colwell Building
                                        123 N. Third Street
                                        Minneapolis, MN 55401
                                        Telephone: (612) 355-4100
                                        Facsimile: (612) 355-4101
                                        parker@parkerdk.com
                                        eslick@parkerdk.com
                                        ATTORNEYS FOR DEFENDANTS




                                           12
      CASE 0:22-cv-00098-JMB-JFD Doc. 76-1 Filed 02/01/23 Page 14 of 45




                             CERTIFICATE OF SERVICE

       I, Matthew R. Eslick, hereby certify that on November 4, 2022, a true and correct

copy of My Pillow, Inc.’s First Set of Requests for Production of Documents and Things

were served via email on counsel for Plaintiffs in Smartmatic USA Corp., et al., v. Lindell,

et al., Case No. 22-cv-00098-WMW-JFD.



DATED: November 4, 2022.                  PARKER DANIELS KIBORT LLC
                                          By /s/ Matthew R. Eslick
                                          Andrew D. Parker (MN Bar No. 195042)
                                          Matthew R. Eslick (MN Bar No. 388494)
                                          888 Colwell Building
                                          123 N. Third Street
                                          Minneapolis, MN 55401
                                          Telephone: (612) 355-4100
                                          Facsimile: (612) 355-4101
                                          parker@parkerdk.com
                                          eslick@parkerdk.com
                                          ATTORNEYS FOR DEFENDANTS




                                             13
CASE 0:22-cv-00098-JMB-JFD Doc. 76-1 Filed 02/01/23 Page 15 of 45




                 EXHIBIT B
       CASE 0:22-cv-00098-JMB-JFD Doc. 76-1 Filed 02/01/23 Page 16 of 45




                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MINNESOTA



 SMARTMATIC USA CORP.,
 SMARTMATIC INTERNATIONAL
 HOLDING B.V., and SGO CORPORATION
 LIMITED,

                                 Plaintiffs,
                         v.                           Case No. 22-cv-0098-WMW-JFD

 MICHAEL J. LINDELL and MY PILLOW,
 INC.,

                                 Defendants.


         PLAINTIFFS’ RESPONSES TO DEFENDANT MY PILLOW, INC.’S
   FIRST SET OF REQUESTS FOR PRODUCTION OF DOCUMENTS AND THINGS

       Pursuant to Federal Rule of Civil Procedure 34(a)(2), Plaintiffs Smartmatic USA Corp.,

Smartmatic International Holding B.V. and SGO Corporation Limited (collectively,

“Smartmatic”), by and through undersigned counsel, hereby provide the following responses and

objections to Defendant My Pillow Inc.’s (“MyPillow”) First Set of Requests for Production of

Documents and Things (the “Requests” and, individually, each a “Request”). Smartmatic’s

responses are hereby provided without waiver of any questions or objections to relevancy or

admissibility as evidence. These answers are specifically made subject to objection during any part

of these proceedings.

                                    GENERAL OBJECTIONS

       The following General Objections are incorporated into Smartmatic’s responses as though

fully set forth herein. The Specific Objections identified for the Requests further identify additional

objections specific to that Request. The General Objections are not waived, or in any way limited,

by the Specific Objections. Smartmatic’s agreement to provide any responsive and non-privileged


                                                  1
         CASE 0:22-cv-00098-JMB-JFD Doc. 76-1 Filed 02/01/23 Page 17 of 45




information or documents in response to the Requests shall not be construed as a waiver of any

right or objections to the Requests or other discovery procedures. The production of any

information or documents by Smartmatic shall be without prejudice to any objections Smartmatic

may have as to the relevance or admissibility of any information or document at any hearing or

trial.

         1.    Smartmatic objects to the Requests to the extent that they might be interpreted as

requiring Smartmatic to concede the relevance, materiality, or admissibility of the information

sought by the Requests. All of the following objections, answers, and responses are given without

prejudice to and with the express reservation of Smartmatic’s right to supplement or modify its

objections, answers, and responses to the extent required and permitted by applicable law, to

incorporate later discovered information, and to rely upon any and all such information and

documents at trial or otherwise. Likewise, Smartmatic shall not be prejudiced if any of its present

objections, answers, and responses are based on incomplete knowledge or comprehension of the

facts, events, or occurrences involved in this matter.

         2.    Smartmatic objects to the Requests, including the Instructions and Definitions, to

the extent that they purport to impose obligations beyond those required by the Federal Rules of

Civil Procedure, applicable case law, and the Court’s orders in this case. Smartmatic specifically

objects to the Requests, including the Instructions and Definitions, to the extent that they purport

to impose obligations different than or beyond those required by the Order Regarding Production

of Electronically Stored Information (Dkt. 69).

         3.    Smartmatic objects to the Requests to the extent that they seek information

protected from disclosure by the attorney-client privilege, attorney work product doctrine, joint

defense privilege, or by any other applicable privilege or immunity from production. Nothing



                                                  2
       CASE 0:22-cv-00098-JMB-JFD Doc. 76-1 Filed 02/01/23 Page 18 of 45




contained in Smartmatic’s responses to these Requests is intended to be, or in any way should be

deemed to be, a waiver of any such privilege or immunity. Any inadvertent production of

information protected by the attorney-client privilege, prepared in anticipation of litigation or trial,

or otherwise protected or immune from discovery shall not constitute a waiver of any privilege or

other basis for objecting to the production of such material or its subject matter. Smartmatic

expressly reserves the right to object to the use or introduction of such information.

        4.      Smartmatic objects to the Requests to the extent that they seek information that is

confidential or proprietary to Smartmatic or its customers. If Smartmatic provides confidential or

proprietary information in response to the Requests, such production will be subject to the

protective order entered by the Court.

        5.      Smartmatic objects to the Requests to the extent that they seek information

protected from disclosure under any confidentiality or protective order, or under any other order

or stipulation that Smartmatic has entered into or is subject to with respect to any past or present

litigation or other matter.

        6.      Smartmatic objects to the Requests to the extent that they seek information of third

parties protected from disclosure under confidentiality or other agreements with third parties that

Smartmatic has entered into or is subject to. An agreement to produce documents does not

constitute an agreement to produce documents protected from disclosure under confidentiality,

non-disclosure, or other agreements with third parties.

        7.      Smartmatic objects to the Requests to the extent that they seek information, the

disclosure of which is prohibited by law, regulation, or order of a court or other authority of a

foreign jurisdiction in which such information is located.




                                                   3
       CASE 0:22-cv-00098-JMB-JFD Doc. 76-1 Filed 02/01/23 Page 19 of 45




        8.       Smartmatic objects to the Requests to the extent that they are overbroad, unduly

burdensome, vague, and ambiguous, and/or fail to describe the information sought with reasonable

particularity.

        9.       Smartmatic objects to the Requests to the extent that they seek “any” or “all”

information on the grounds that such Requests are overbroad and unduly burdensome.

        10.      Smartmatic objects to the Requests to the extent that they seek disclosure of

information that is either irrelevant to the subject matter of this lawsuit or not reasonably calculated

to lead to the discovery of relevant or admissible evidence.

        11.      Smartmatic objects to the Requests as overbroad and unduly burdensome to the

extent they seek disclosure of information that essentially requires Smartmatic to provide

information on the entire history of Smartmatic’s business operations as it relates to its voting

systems and technologies.

        12.      Smartmatic objects to the Requests to the extent that they call for a legal conclusion.

        13.      Smartmatic objects to the Requests to the extent that they seek disclosure of

information that is not in Smartmatic’s possession, custody, or control.

        14.      Smartmatic objects to the Requests to the extent that they seek disclosure of

information that is already in Defendants’ possession, custody, or control, or is equally available

to Defendants.

        15.      Smartmatic objects to the Requests to the extent that the burden or expense of the

proposed discovery outweighs its likely benefit.

        16.      Smartmatic objects to the definition of “Smartmatic,” “You” and “Your” as vague,

ambiguous, overbroad, and unduly burdensome to the extent that it includes persons and entities

that are not parties to this action and who do not possess responsive information. Smartmatic



                                                   4
       CASE 0:22-cv-00098-JMB-JFD Doc. 76-1 Filed 02/01/23 Page 20 of 45




further objects to the definition of these terms as vague and ambiguous. Smartmatic will construe

the terms “Smartmatic,” “You” and “Your” to mean SGO Corporation Limited, Smartmatic

International Holding B.V., and Smartmatic USA Corp., and their subsidiaries.

       17.     Smartmatic objects to the definition of “Smartmatic Product” and “Smartmatic

Products” as overbroad and unduly burdensome to the extent they include election technology,

software, and hardware that was not used in Los Angeles County in the 2020 Presidential Election

and are not responsive. Smartmatic will construe “Smartmatic Product” and “Smartmatic

Products” as voting machines and technology developed by Smartmatic for use in the 2020

Presidential Election in Los Angeles County.

       18.     Smartmatic objects to the Requests to the extent that they use phrases or terms that

have specific or technical definitions under state or federal regulations, and such phrases or terms

are not specifically defined.

       19.     Smartmatic’s use of a given term in its Responses does not mean that the term is

not vague and ambiguous, as used in the Requests, or that Smartmatic endorses the use of the term.

       20.     An agreement in Smartmatic’s response to produce certain documents is not meant

to state or imply that such documents exist.

       21.     An agreement to produce documents identified by a reasonable search means that

Smartmatic will conduct a reasonable search based on the identification of reasonable custodians,

the use of reasonable search terms, and the use of a reasonable timeframe.

       22.     Smartmatic objects to the time frame for these Requests as overbroad and overly

burdensome. Unless otherwise stated in its response, an agreement to produce documents located

by a reasonable search means that Smartmatic will produce documents from January 1, 2018 to

the present.



                                                 5
       CASE 0:22-cv-00098-JMB-JFD Doc. 76-1 Filed 02/01/23 Page 21 of 45




                        SPECIFIC OBJECTIONS AND RESPONSES

       REQUEST NO. 1: An exemplar of each Smartmatic Product used by any county,
precinct, election site, or polling location in the State of California to administer the 2020
Presidential Election.

       RESPONSE: Smartmatic incorporates by reference its General Obligations as if fully

stated herein. Smartmatic further objects to this Request to the extent it seeks information that is

not relevant to any claim or defense asserted in this Action and is not reasonably calculated to lead

to the discovery of admissible evidence. Smartmatic further objects to this Request to the extent it

seeks information protected by the attorney-client privilege, the attorney work product immunity,

and/or any other applicable privilege or immunity. Smartmatic further objects to the unlimited

timeframe of this Request as overbroad and unduly burdensome. Smartmatic further objects to this

Request to the extent it seeks information or documentation protected from disclosure under

confidentiality or other agreements with third parties that Smartmatic has entered into or is subject

to. Smartmatic further objects to this Request to the extent it seeks confidential information, the

disclosure of which is prohibited by law, regulation, or administrative order. Subject to and without

waiving the foregoing objections, Smartmatic will produce user manuals and guides relating to

the Smartmatic voting machines and technology developed by Smartmatic for use in the 2020

Presidential Election, to the extent they exist and can be located by a reasonable search.


       REQUEST NO. 2: Documents regarding, concerning, or consisting of the results of any
Audit of election results conducted by You or with Your assistance or cooperation for State of
California or any county or voting precinct therein after the 2020 Presidential election.

       RESPONSE: Smartmatic incorporates by reference its General Objections as if fully

stated herein. Smartmatic further objects to this Request to the extent it seeks information that is

not relevant to any claim or defense asserted in this Action and is not reasonably calculated to lead

to the discovery of admissible evidence. Smartmatic further objects to this Request to the extent it


                                                 6
       CASE 0:22-cv-00098-JMB-JFD Doc. 76-1 Filed 02/01/23 Page 22 of 45




seeks information protected by attorney-client privilege, the attorney work product immunity,

and/or any other applicable privilege or immunity. Smartmatic further objects to the unlimited

timeframe for the documents sought with respect to this Request as overbroad and unduly

burdensome. Smartmatic further objects to this Request to the extent it seeks information outside

of Smartmatic’s possession, custody, or control. Smartmatic further objects to this Request to the

extent it seeks information that is obtainable from some other source that is more convenient, less

burdensome, or less expensive, including but not limited to the public domain. Subject to and

without waiving the foregoing objections, Smartmatic will produce responsive documents

regarding any post-election audits of the voting machines and technology developed by

Smartmatic for use in the 2020 Presidential Election, to the extent they exist and can be located by

a reasonable search.


      REQUEST NO. 3: Written communications with any entity listed in Paragraph 51 of
the Complaint from January 1, 2005, to the present.

       RESPONSE: Smartmatic incorporates by reference its General Objections as if fully

stated herein. Smartmatic further objects to this Request to the extent it seeks information that is

not relevant to any claim or defense asserted in this Action and is not reasonably calculated to lead

to the discovery of admissible evidence. Smartmatic further objects to this Request to the extent it

seeks information protected by attorney-client privilege, the attorney work product immunity,

and/or any other applicable privilege or immunity. Smartmatic further objects to the timeframe for

the documents sought with respect to this Request as overbroad and unduly burdensome. Subject

to and without waiving the foregoing objections, Smartmatic will produce communications with

Dominion and Election Systems & Software (“ES&S”) from January 1, 2020 to the present.




                                                 7
       CASE 0:22-cv-00098-JMB-JFD Doc. 76-1 Filed 02/01/23 Page 23 of 45




        REQUEST NO. 4: Documents consisting of or containing references to any of the
entities listed in Request No. 3 above, that also relate to the 2020 U.S. Election, this litigation, or
any allegation in the Complaint.

       RESPONSE: Smartmatic incorporates by reference its General Objections as if fully

stated herein. Smartmatic further objects to this Request to the extent it seeks information that is

not relevant to any claim or defense asserted in this Action and is not reasonably calculated to lead

to the discovery of admissible evidence. Smartmatic further objects to this Request to the extent it

seeks information protected by attorney-client privilege, the attorney work product immunity,

and/or any other applicable privilege or immunity. Smartmatic further objects to the timeframe for

the documents sought with respect to this Request as overbroad and unduly burdensome. Subject

to and without waiving the foregoing objections, Smartmatic will produce documents related to

Dominion and ES&S concerning the either 2020 U.S. Presidential Election or this Action from

January 1, 2020 to the present.


        REQUEST NO. 5: In Paragraph 32 of the Complaint, You reference “case studies,” and
in Paragraph 33, You identify “references” that improve Smartmatic’s business. Produce each
written case study and written reference referenced in those Paragraphs, and all related documents
and communications.

       RESPONSE: Smartmatic incorporates by reference its General Objections as if fully

stated herein. Smartmatic further objects to this Request to the extent it seeks information that is

not relevant to any claim or defense asserted in this Action and is not reasonably calculated to lead

to the discovery of admissible evidence. Smartmatic further objects to this Request to the extent it

seeks information protected by attorney-client privilege, the attorney work product immunity,

and/or any other applicable privilege or immunity. Smartmatic further objects to the unlimited

timeframe of this Request as overbroad and unduly burdensome. Smartmatic further objects to this

Request to the extent it seeks information that is obtainable from some other source that is more

convenient, less burdensome or less expensive, including but not limited to the public domain.

                                                  8
       CASE 0:22-cv-00098-JMB-JFD Doc. 76-1 Filed 02/01/23 Page 24 of 45




Smartmatic further objects to the timeframe for the documents sought with respect to this Request

as overbroad and unduly burdensome. Smartmatic further objects to this Request to the extent it

seeks information or documentation protected from disclosure under confidentiality or other

agreements with third parties that Smartmatic has entered into or is subject to. Subject to and

without waiving the foregoing objections, Smartmatic responds that it will produce responsive

documents only upon such time as this Request is narrowed in scope.


       REQUEST NO. 6: All user manuals, user guides, and owner or user documentation
provided by Smartmatic to any purchaser, lessor, or user of Hardware that was a Smartmatic
Product, used in the State of California or any county thereof to administer the 2020 Presidential
Election.

       RESPONSE: Smartmatic incorporates by reference its General Objections as if fully

stated herein. Smartmatic further objects to this Request to the extent it seeks information that is

not relevant to any claim or defense asserted in this Action and is not reasonably calculated to lead

to the discovery of admissible evidence. Smartmatic further objects to this Request to the extent it

seeks information protected by attorney-client privilege, the attorney work product immunity,

and/or any other applicable privilege or immunity. Smartmatic further objects to this Request to

the extent that it seeks “all” manuals, guides, and documentation on the grounds that such Requests

are overbroad and unduly burdensome. Smartmatic further objects to the timeframe for the

documents sought with respect to this Request as overbroad and unduly burdensome. Smartmatic

further objects to this Request to the extent it seeks information or documentation protected from

disclosure under confidentiality or other agreements with third parties that Smartmatic has entered

into or is subject to. Smartmatic further objects to the terms “user manuals,” “user guides,” and

“owner or user documentation” as vague and ambiguous. Subject to and without waiving the

foregoing objections, Smartmatic responds that it will produce responsive documents regarding

ballot-marking devices used in Los Angeles County in the 2020 Presidential Election.

                                                 9
       CASE 0:22-cv-00098-JMB-JFD Doc. 76-1 Filed 02/01/23 Page 25 of 45




       REQUEST NO. 7: Documents regarding, concerning, or communications with,
including, or referencing the Republican National Committee or Democratic National Committee
from January 1, 2016, to the present.

       RESPONSE: Smartmatic incorporates by reference its General Objections as if fully

stated herein. Smartmatic further objects that this Request seeks information that is not relevant to

any claim or defense asserted in this Action and is not reasonably calculated to lead to the

discovery of admissible evidence. Smartmatic further objects to this Request to the extent it seeks

information protected by attorney-client privilege, the attorney work product immunity, and/or any

other applicable privilege or immunity. Smartmatic further objects to the unlimited timeframe for

the documents sought with respect to this Request as overbroad and unduly burdensome.

Smartmatic will not produce documents in response to this Request.


        REQUEST NO. 8: The source code for any Smartmatic Product, Hardware, Software,
or systems used in the 2020 Presidential Election in any county, precinct, election site, or polling
location in the State of California.

       RESPONSE: Smartmatic incorporates by reference its General Objections as if fully

stated herein. Smartmatic further objects to this Request to the extent it seeks information that is

not relevant to any claim or defense asserted in this Action and is not reasonably calculated to lead

to the discovery of admissible evidence. Smartmatic further objects to this Request to the extent it

seeks information protected by attorney-client privilege, the attorney work product immunity,

and/or any other applicable privilege or immunity. Smartmatic further objects to the timeframe for

the documents sought with respect to this Request as overbroad and unduly burdensome.

Smartmatic further objects to this Request to the extent it seeks information or documentation

protected from disclosure under confidentiality or other agreements with third parties that

Smartmatic has entered into or is subject to. Smartmatic further objects to the term “source code”

as vague and ambiguous. Smartmatic will not comply with this Request.


                                                 10
       CASE 0:22-cv-00098-JMB-JFD Doc. 76-1 Filed 02/01/23 Page 26 of 45




       REQUEST NO. 9: All user manuals, user guides, and owner or user documentation
provided by Smartmatic to any purchaser, lessor, or user of a Smartmatic Product used to
administer the 2020 Presidential Election.

       RESPONSE: Smartmatic incorporates by reference its General Objections as if fully

stated herein. Smartmatic further objects to this Request to the extent it seeks information that is

not relevant to any claim or defense asserted in this Action and is not reasonably calculated to lead

to the discovery of admissible evidence. Smartmatic further objects to this Request to the extent it

seeks information protected by attorney-client privilege, the attorney work product immunity,

and/or any other applicable privilege or immunity. Smartmatic further objects to this Request to

the extent that it seeks “all” manuals, guides, and documentation on the grounds that such Requests

are overbroad and unduly burdensome. Smartmatic further objects to the timeframe for the

documents sought with respect to this Request as overbroad and unduly burdensome. Smartmatic

further objects to this Request to the extent it seeks information or documentation protected from

disclosure under confidentiality or other agreements with third parties that Smartmatic has entered

into or is subject to. Smartmatic further objects to the terms “manuals,” “user guides,” and “owner

or user documentation” as vague and ambiguous. Subject to and without waiving the foregoing

objections, Smartmatic responds that it will produce responsive documents regarding ballot-

marking devices used in Los Angeles County in the 2020 Presidential Election.


       REQUEST NO. 10: Any Hardware and Software in the possession, custody, or control
of Smartmatic that was used to administer the 2020 Presidential Election in any jurisdiction in any
State.

       RESPONSE: Smartmatic incorporates by reference its General Objections as if fully

stated herein. Smartmatic further objects to this Request to the extent it seeks information that is

not relevant to any claim or defense asserted in this Action and is not reasonably calculated to lead

to the discovery of admissible evidence. Smartmatic further objects to this Request to the extent it


                                                 11
       CASE 0:22-cv-00098-JMB-JFD Doc. 76-1 Filed 02/01/23 Page 27 of 45




seeks information protected by attorney-client privilege, the attorney work product immunity,

and/or any other applicable privilege or immunity. Smartmatic further objects to the timeframe for

the documents sought with respect to this Request as overbroad and unduly burdensome.

Smartmatic further objects to this Request to the extent it seeks information or documentation

protected from disclosure under confidentiality or other agreements with third parties that

Smartmatic has entered into or is subject to. Smartmatic will not comply with this Request.


       REQUEST NO. 11: All Documents supporting Your allegations that any statement by
Mr. Lindell or attributable to Mr. Lindell caused damages to Smartmatic.

       RESPONSE: Smartmatic incorporates by reference its General Objections as if fully

stated herein. Smartmatic further objects to this Request to the extent it seeks information protected

by attorney-client privilege, the attorney work product immunity, and/or any other applicable

privilege or immunity. Smartmatic further objects to this Request to the extent that it seeks “all”

documents on the grounds that such Requests are overbroad and unduly burdensome. Smartmatic

further objects that, because it seeks documents “supporting” allegations, this Request calls for a

legal conclusion. Smartmatic further objects to the unlimited timeframe for the documents sought

with respect to this Request as overbroad and unduly burdensome. Subject to and without waiving

the foregoing objections, Smartmatic will produce responsive documents, to the extent they exist

and can be located by a reasonable search.


       REQUEST NO. 12: All Documents showing or tending to show that a statement by any
person other than Mr. Lindell, related to the 2020 Presidential Election, caused damages to
Smartmatic.

       RESPONSE: Smartmatic incorporates by reference its General Objections as if fully

stated herein. Smartmatic further objects to this Request to the extent it seeks information protected

by attorney-client privilege, the attorney work product immunity, and/or any other applicable


                                                 12
       CASE 0:22-cv-00098-JMB-JFD Doc. 76-1 Filed 02/01/23 Page 28 of 45




privilege or immunity. Smartmatic further objects to this Request to the extent that it seeks “all”

documents on the grounds that such Requests are overbroad and unduly burdensome. Smartmatic

further objects that, because it seeks documents “supporting” allegations, this Request calls for a

legal conclusion. Smartmatic further objects to the phrase “tending to show” as vague, ambiguous

and overbroad. Smartmatic further objects to the unlimited timeframe for the documents sought

with respect to this Request as overbroad and unduly burdensome. Subject to and without waiving

the foregoing objections, Smartmatic will produce responsive documents, to the extent they exist

and can be located by a reasonable search.


       REQUEST NO. 13: Any agreements or contracts between Smartmatic or any parent,
subsidiary, or affiliated entity and any State or County in the United States to supply or support
any Smartmatic Product, during the period January 1, 2005, to the present.

       RESPONSE: Smartmatic incorporates by reference its General Objections as if fully

stated herein. Smartmatic further objects to this Request to the extent it seeks information that is

not relevant to any claim or defense asserted in this Action and is not reasonably calculated to lead

to the discovery of admissible evidence. Smartmatic further objects to this Request to the extent it

seeks information protected by attorney-client privilege, the attorney work product immunity,

and/or any other applicable privilege or immunity. Smartmatic further objects to this Request to

the extent that it seeks “any” documents on the grounds that such Requests are overbroad and

unduly burdensome. Smartmatic further objects to the timeframe for the documents sought with

respect to this Request as overbroad and unduly burdensome. Smartmatic further objects to this

Request to the extent it seeks information or documentation protected from disclosure under

confidentiality or other agreements with third parties that Smartmatic has entered into or is subject

to. Subject to and without waiving the foregoing objections, Smartmatic responds that it will

produce its contracts for the provision of voting technology from January 1, 2018 to present.


                                                 13
       CASE 0:22-cv-00098-JMB-JFD Doc. 76-1 Filed 02/01/23 Page 29 of 45




       REQUEST NO. 14: All documents that relate to the truth or falsity of every allegation in
Paragraph 134 of the Complaint.

       RESPONSE: Smartmatic incorporates by reference its General Objections as if fully

stated herein. Smartmatic further objects to this Request to the extent it seeks information or

documentation protected by attorney-client privilege, the attorney work product immunity, and/or

any other applicable privilege or immunity. Smartmatic further objects to the unlimited timeframe

of this Request as overbroad and unduly burdensome. Smartmatic further objects to this Request

to the extent that it seeks "all" such documents on the grounds that such Requests are overbroad

and unduly burdensome. Smartmatic further objects that, to the extent it seeks documents that

"relate to the truth or falsity" of the allegation, this Request is vague, ambiguous, overbroad and

unduly burdensome. Smartmatic further objects to the extent this Request to the extent it seeks

documents outside of Smartmatic's possession, custody, or control and which cannot be located by

a reasonable search. Smartmatic further objects to this Request to the extent it seeks information

that is obtainable from some other source that is more convenient, less burdensome or less

expensive, including but not limited to the public domain. Subject to and without waiving the

foregoing objections, Smartmatic will produce responsive documents sufficient to show the truth

or falsity of the allegations of Complaint Paragraph 134, to the extent they exist and can be located

by a reasonable search.


         REQUEST NO. 15: Documents on which You intend to rely at any hearing or trial of
this litigation.

       RESPONSE: Smartmatic incorporates by reference its General Objections as if fully

stated herein. Smartmatic further objects to this Request to the extent it seeks information protected

by attorney-client privilege, the attorney work product immunity, and/or any other applicable

privilege or immunity. Smartmatic further objects to the unlimited timeframe of this Request as


                                                 14
       CASE 0:22-cv-00098-JMB-JFD Doc. 76-1 Filed 02/01/23 Page 30 of 45




overbroad and unduly burdensome. Smartmatic further objects to this Request on the grounds that

it seeks premature expert discovery. Subject to and without waiving the foregoing objections,

Smartmatic will produce responsive documents, to the extent they exist and can be located by a

reasonable search.


       REQUEST NO. 16: Documents provided to or provided from any expert witness who
must produce a written report.

       RESPONSE: Smartmatic incorporates by reference its General Objections as if fully

stated herein. Smartmatic further objects to this Request to the extent it seeks information protected

by attorney-client privilege, the attorney work product immunity, and/or any other applicable

privilege or immunity. Smartmatic further objects to this Request on the grounds that it seeks

premature expert discovery. Smartmatic further objects to the unlimited timeframe for the

documents sought with respect to this Request as overbroad and unduly burdensome. Subject to

and without waiving the foregoing objections, Smartmatic will produce documents considered by

any expert witness in forming an opinion, to the extent they exist and can be located by a

reasonable search.


       REQUEST NO. 17: Documents obtained by You in pursuant to any subpoena or
discovery relating to this litigation.

       RESPONSE: Smartmatic incorporates by reference its General Objections as if fully

stated herein. Smartmatic further objects to this Request to the extent it seeks information protected

by attorney-client privilege, the attorney work product immunity, and/or any other applicable

privilege or immunity. Smartmatic further objects to this Request on the grounds that it seeks

premature expert discovery. Smartmatic further objects to the unlimited timeframe for the

documents sought with respect to this Request as overbroad and unduly burdensome. Subject to

and without waiving the foregoing objections, Smartmatic will produce documents received by

                                                 15
       CASE 0:22-cv-00098-JMB-JFD Doc. 76-1 Filed 02/01/23 Page 31 of 45




Smartmatic in response to a subpoena in this Action, to the extent they exist and can be located by

a reasonable search.


        REQUEST NO. 18: Documents referenced in, identified by, or relied upon in drafting
the Complaint in this litigation. Any document stored in electronic format must be produced in
electronic format, regardless of the form in which it was attached to the Complaint in electronic
format.

       RESPONSE: Smartmatic incorporates by reference its General Objections as if fully

stated herein. Smartmatic further objects to this Request to the extent it seeks information protected

by the attorney-client privilege, the attorney work product immunity, and/or any other applicable

privilege or immunity. Smartmatic further objects to the unlimited timeframe of this Request as

overbroad and unduly burdensome. Subject to and without waiving the foregoing objections,

Smartmatic will produce responsive documents, to the extent they exist and can be located by a

reasonable search.


      REQUEST NO. 19: Documents related to the ownership of any interest in any
Smartmatic entity from the time of formation through the present.

       RESPONSE: Smartmatic incorporates by reference its General Objections as if fully

stated herein. Smartmatic further objects to this Request to the extent it seeks information that is

not relevant to any claim or defense asserted in this Action and is not reasonably calculated to lead

to the discovery of admissible evidence. Smartmatic further objects to this Request to the extent it

seeks information protected by attorney-client privilege, the attorney work product immunity,

and/or any other applicable privilege or immunity. Smartmatic further objects to the unlimited

timeframe of this Request as overbroad and unduly burdensome. Smartmatic objects to the phrase

“ownership of any interest in” as vague, ambiguous and overbroad. Smartmatic further objects to

the unlimited timeframe for the documents sought with respect to this Request as overbroad and

unduly burdensome. Subject to and without waiving the foregoing objections, Smartmatic will

                                                 16
       CASE 0:22-cv-00098-JMB-JFD Doc. 76-1 Filed 02/01/23 Page 32 of 45




produce organizational charts sufficient to show the corporate structure of Smartmatic, to the

extent that such documents exist and can be located by a reasonable search.


        REQUEST NO. 20: All documents concerning communications with any U.S. federal or
state authority about the certification, testing, approval, or security of any Smartmatic Product used
to administer the 2020 Presidential Election in any jurisdiction.

       RESPONSE: Smartmatic incorporates by reference its General Objections as if fully

stated herein. Smartmatic further objects to this Request to the extent it seeks information that is

not relevant to any claim or defense asserted in this Action and is not reasonably calculated to lead

to the discovery of admissible evidence. Smartmatic further objects to this Request to the extent it

seeks information protected by attorney-client privilege, the attorney work product immunity,

and/or any other applicable privilege or immunity. Smartmatic further objects to this Request to

the extent that it seeks “all” documents on the grounds that such Requests are overbroad and unduly

burdensome. Smartmatic further objects to this Request to the extent it seek information or

documentation protected from disclosure under confidentiality or other agreements with third

parties that Smartmatic has entered into or is subject to. Smartmatic objects to the terms

“certification,” “testing,” “approval,” and “security,” as used in this Request, as vague, ambiguous

and overbroad. Smartmatic further objects to the timeframe for the documents sought with respect

to this Request as overbroad and unduly burdensome. Subject to and without waiving the foregoing

objections, Smartmatic will produce documents and communications sent by Smartmatic or

received by Smartmatic from any governmental entity, agency or organization concerning the

certification of Smartmatic technology utilized in the 2020 Presidential Election, to the extent they

exist and can be located by a reasonable search.


      REQUEST NO. 21: All documents concerning any Cybersecurity Breach or suspected
Cybersecurity Breach related to Smartmatic, Smartmatic Products, or any manufacturer of any


                                                 17
       CASE 0:22-cv-00098-JMB-JFD Doc. 76-1 Filed 02/01/23 Page 33 of 45




component of a Smartmatic Product or any election-related product manufactured, distributed,
sold or licensed by any entity listed inn Paragraph 51 of the Complaint.

       RESPONSE: Smartmatic incorporates by reference its General Objections as if fully

stated herein. Smartmatic further objects to this Request to the extent it seeks information that is

not relevant to any claim or defense asserted in this Action and is not reasonably calculated to lead

to the discovery of admissible evidence. Smartmatic further objects to this Request to the extent it

seeks information protected by attorney-client privilege, the attorney work product immunity,

and/or any other applicable privilege or immunity. Smartmatic further objects to this Request to

the extent that it seeks “all” documents on the grounds that such Requests are overbroad and unduly

burdensome. Smartmatic further objects to the unlimited timeframe for the documents sought with

respect to this Request as overbroad and unduly burdensome. Smartmatic further objects to this

Request to the extent it seeks information or documentation protected from disclosure under

confidentiality or other agreements with third parties that Smartmatic has entered into or is subject

to. Subject to and without waiving the foregoing objections, Smartmatic will produce any

documents concerning any actual or suspected cybersecurity breach of the technology developed

by Smartmatic for use in the 2020 Presidential Election, to the extent that they exist and can be

located by a reasonable search.


      REQUEST NO. 22: All documents containing communications with or among
Smartmatic or any representative, employee, officer, or agent of the government of Venezuela.

       RESPONSE: Smartmatic incorporates by reference its General Objections as if fully

stated herein. Smartmatic further objects to this Request to the extent it seeks information that is

not relevant to any claim or defense asserted in this Action and is not reasonably calculated to lead

to the discovery of admissible evidence. Smartmatic further objects to this Request to the extent it

seeks information protected by attorney-client privilege, the attorney work product immunity,


                                                 18
       CASE 0:22-cv-00098-JMB-JFD Doc. 76-1 Filed 02/01/23 Page 34 of 45




and/or any other applicable privilege or immunity. Smartmatic further objects to this Request to

the extent that it seeks “all” documents on the grounds that such Requests are overbroad and unduly

burdensome. Smartmatic further objects to the unlimited timeframe for the documents sought with

respect to this Request as overbroad and unduly burdensome. Subject to and without waiving the

foregoing objections, Smartmatic responds that it will produce responsive documents only upon

such time as this Request is narrowed in scope.




                                                  19
      CASE 0:22-cv-00098-JMB-JFD Doc. 76-1 Filed 02/01/23 Page 35 of 45




Dated: December 5, 2022

                                      /s/ J. Erik Connolly

                                      Christopher K. Larus
                                         Minnesota Bar No. 0226828
                                         CLarus@robinskaplan.com
                                      William E. Manske
                                         Minnesota Bar No. 0392348
                                         WManske@robinskaplan.com
                                      Emily J. Tremblay
                                         Minnesota Bar No. 0395003
                                         ETremblay@robinskaplan.com
                                      ROBINS KAPLAN LLP
                                      800 LaSalle Avenue, Suite 2800
                                      Minneapolis, MN 55402
                                      Telephone: (612) 349-8500

                                      J. Erik Connolly (admitted pro hac vice)
                                          EConnolly@beneschlaw.com
                                      Illinois ARDC No. 6269558
                                      Nicole E. Wrigley (admitted pro hac vice)
                                          NWrigley@beneschlaw.com
                                      Illinois ARDC No. 6278749
                                      Michael E. Bloom (admitted pro hac vice)
                                          MBloom@beneschlaw.com
                                      Illinois ARDC No. 6302422
                                      Julie M. Loftus (admitted pro hac vice)
                                          JLoftus@beneschlaw.com
                                      Illinois ARDC No. 6332174
                                      BENESCH, FRIEDLANDER, COPLAN &
                                      ARONOFF LLP
                                      71 South Wacker Drive, Suite 1600
                                      Chicago, IL 60606
                                      Telephone: (312) 212-4949

                                      Attorneys for the Plaintiffs




                                     20
      CASE 0:22-cv-00098-JMB-JFD Doc. 76-1 Filed 02/01/23 Page 36 of 45




                               CERTIFICATE OF SERVICE
       The undersigned hereby certifies that on December 5, 2022 a true and correct copy of the

foregoing Plaintiffs’ Responses to Defendant My Pillow, Inc.’s First Set of Requests for

Production of Documents and Things was served via email on the following attorneys of record:


PARKER DANIELS KIBORT LLC
Andrew D. Parker
Ryan Malone
Matthew R. Eslick
888 Colwell Building
123 N. Third Street
Minneapolis, MN 55401
parker@parkerdk.com
malone@parkerdk.com
eslick@parkerdk.com


                                                                  /s/ Michael E. Bloom
                                                                   Michael E. Bloom




                                              21
CASE 0:22-cv-00098-JMB-JFD Doc. 76-1 Filed 02/01/23 Page 37 of 45




                 EXHIBIT C
      CASE 0:22-cv-00098-JMB-JFD Doc. 76-1 Filed 02/01/23 Page 38 of 45




                                 January 9, 2023

VIA E-MAIL
Michael E. Bloom
Benesch Friedlander Coplan & Aronoff, LLP
Suite 1600
71 South Wacker Drive
Chicago, IL 60606-4637
mbloom@beneschlaw.com

        Re:    Discovery Deficiencies
               Smartmatic USA Corp. et al. v. Lindell et al.
               Case No. 22-cv-98 (WMW/JFD) (D. Minn.).

Dear Mr. Bloom:

I write to identify several deficiencies in Plaintiffs’ discovery responses
served on December 1, 2022. The items highlighted below are intended to
set forth our position on several of the responses provided by your clients.    ANDREW D. PARKER
Our expectation is that we will discuss these issues at our next meet and       CHRISTOPHER M. DANIELS
confer conference, currently scheduled for January 11, 2023.                    JESSE H. KIBORT
                                                                                ELIZABETH S. WRIGHT
I.     Interrogatories.                                                         ALEC J. BECK
                                                                                LORI A. JOHNSON
       A.     General Deficiencies.                                             MATTHEW R. ESLICK
                                                                                JOSEPH A. PULL
Several Interrogatories ask for information about facts specifically pled in    RYAN P. MALONE
the Complaint. For example, Interrogatory Number 2 seeks the discovery          JORDON C. GREENLEE
of information related to Smartmatic’s data security practices. Specifically,
                                                                                ABRAHAM S. KAPLAN
this Interrogatory asks Smartmatic to identify every person who has
                                                                                GREGORY N. ARENSON
knowledge of Smartmatic’s claim that it has “processed more than 5 billion
                                                                                REGINALD W. SNELL
secure votes worldwide without a single security breach.” Interrog. # 2.
After asserting a boilerplate objection, Smartmatic identifies a number of
                                                                                FREDERICK C. BROWN
countries to which it “has previously provided or is currently under             OF COUNSEL
contract to provide voting machines, technology, or services.” Smartmatic
then states that “individuals likely to have discoverable information related   888 Colwell Building
                                                                                123 Third Street North
to” this subject “are listed in Smartmatic’s Initial Disclosures.”              Minneapolis, MN 55401

                                                                                parkerdk.com

                                                                                Tel: 612.355.4100
                                                                                Fax: 612.355.4101
      CASE 0:22-cv-00098-JMB-JFD Doc. 76-1 Filed 02/01/23 Page 39 of 45

                                                                     Michael E. Bloom, Esq.
                                                                            January 9, 2023
                                                                                     Page 2


This response is not sufficient for at least two reasons. First, the Interrogatory asks
Smartmatic to identify individuals with knowledge of the allegation. The Answer does
not do this. Instead, it refers to Smartmatic’s initial disclosures generally. A sufficient
answer would identify the individuals with knowledge, not simply refer to a list.

Second, and more importantly, this Interrogatory asks Smartmatic to set forth the facts
supporting the allegation. Smartmatic’s response completely fails to address this request.
Simply pointing to Smartmatic’s Initial Disclosures and stating that some or all of group
of individuals listed may have knowledge of an allegation is far different from setting
forth the facts that support the allegation.

Smartmatic takes this approach in response to several other Interrogatories. See
Responses to Interrogatory Nos. 6, 7, 8, 9, 10, 11, 12, 14, 15, 17, 18, 19. Please
supplement your answers by providing the requested information.

       B.     Interrogatory No. 16.

Interrogatory Number 16 asks Smartmatic to identify individuals or entities to whom
Smartmatic’s election technology, hardware, or software was licensed, sold, leased, or
loaned for use in any election from 2010 to the present. Interrog. # 16. Instead of
responding to this specific request, Smartmatic identified a list of countries where its
“electoral technology or services” were used from January 1, 2018, to the present.

One of Smartmatic’s claims is that its global reputation suffered because of allegedly
defamatory statements made by Mr. Lindell. Information about Smartmatic’s business
partners on a global basis for the time before the allegedly defamatory statements is
relevant to its claim of damages. Providing a list of countries where its products or
services were used is insufficient. This response must be supplemented.

II.    Requests for Production.

We have received a total of three document productions from your clients. We
understand that the production of documents is provided on a rolling basis. Please advise
when your production is complete.

The following are a number of deficiencies in the responses provided to date. These
issues are identified without waiver of our clients’ ability to raise additional deficiencies
after our review of your clients’ documents.
      CASE 0:22-cv-00098-JMB-JFD Doc. 76-1 Filed 02/01/23 Page 40 of 45

                                                                   Michael E. Bloom, Esq.
                                                                          January 9, 2023
                                                                                   Page 3

       A.     Request Nos. 1, 8, and 10.

Request for Production Number 1 requests the production of an “exemplar of each
Smartmatic Product” used in the 2020 Presidential Election. Req. for Production #1. In
response, your clients agreed to produce “user manuals and guides relating” to the voting
technology used in the 2020 Presidential Election.

Request for Production Number 8 seeks the production of the source code for
Smartmatic’s voting technology used in the State of California for the 2020 Presidential
Election. Id. # 8. Request for Production Number 10 seeks the production of the hardware
and software in Smartmatic’s custody that was used to administer the 2020 Presidential
Election. Id. # 10.

Initially, Smartmatic’s complaint that the term “source code” is “vague and ambiguous”
is counterfactual. In the Complaint, Smartmatic specifically referenced the testing that its
source code undergoes. Compl. ¶¶ 263, 264, 268. Smartmatic clearly knows what “source
code” is sought by this request.

More broadly, these responses must be supplemented because they seek information
relevant to Smartmatic’s claims. As you are aware, Smartmatic provided a suite of voting
technology and services to Los Angeles County for use in the 2020 Presidential Election.
See Compl. ¶ 42. The Complaint alleges that Mr. Lindell made statements about
Smartmatic’s services and technology. Specifically, the Complaint claims Mr. Lindell
stated that Smartmatic’s products were hacked and manipulated. Id. ¶ 72. Smartmatic
contends this statement is false. Smartmatic contends Mr. Lindell’s statements about the
algorithms used in Smartmatic’s machines are false as well. See id. ¶¶ 75, 77, 150(d),
150(l), 150(q).

The information sought by Request Numbers 1, 8, and 10 is directly relevant to
determining the truth or falsity of the statements Smartmatic claims were defamatory.
Providing “user manuals and guides” is not responsive to this Request. These responses
must be supplemented.

       B.     Request Nos. 3 and 4.

Request for Production Number 3 seeks the production of communications between
Smartmatic and a number of companies and entities identified in paragraph 51 of the
Complaint. Req. for Production #3. Request for Production Number 4 seeks the
production of documents containing references to the same group of entities and
companies. Id. #4.The Complaint alleges that Mr. Lindell’s purported statements that
Smartmatic and other entities are one and the same are false. Compl. ¶¶ 128(2), 142-148.
      CASE 0:22-cv-00098-JMB-JFD Doc. 76-1 Filed 02/01/23 Page 41 of 45

                                                                   Michael E. Bloom, Esq.
                                                                          January 9, 2023
                                                                                   Page 4

As a result, communications between your client and the entities and companies
identified are relevant to proving the truth or falsity of this alleged statement.

Your clients have agreed to produce written communications between Smartmatic and (1)
Dominion and (2) Election Systems & Software. But there are other entities and
companies listed in paragraph 51 of the Complaint. This response must be supplemented.

       C.     Request No. 5.

Request for Production Number 5 seeks the production of the “case studies” and
“references” Smartmatic identified in the Complaint. Req. for Production #5. Following a
boilerplate objection, your clients have indicated that they will not produce responsive
documents unless the Request is narrowed in scope.

Defendants will not narrow the scope of this request. The Complaint refers to the
documents sought. Compl. ¶¶ 32, 33. According to Smartmatic, these documents
“demonstrate, time and time again, that Smartmatic’s election technology and software
can ensure quick and accurate voting results.” Id. ¶ 32. According to Smartmatic, its
reputation was damaged by Mr. Lindell’s allegedly false statements about the security of
Smartmatic’s voting technology. By specifically identifying and categorizing the
documents referenced, Smartmatic has placed in issue the contents of those documents.
These documents must be produced.

       D.     Request No. 7.

Request for Production Number 7 seeks the production of documents reflecting
communications between Smartmatic and the Republican National Committee or the
Democratic National Committee from January 1, 2016, to the present. Req. for
Production # 7. In response, your clients stated that they would not produce documents
responsive to this request because, in part, the timeframe is “unlimited.”

Request Number 7 is not unlimited. It specifically seeks documents created over a
specific period of time. Your clients’ objection is misplaced.

       E.     Request No. 17.

Request for Production Number 17 seeks the production of any documents Smartmatic
obtains pursuant to any subpoena relating to this litigation. Req. for Production #17.
Smartmatic objected, in part, because it believes the request “seeks premature expert
discovery” and because it seeks documents over an “unlimited timeframe.” Neither of
these objections are valid.
       CASE 0:22-cv-00098-JMB-JFD Doc. 76-1 Filed 02/01/23 Page 42 of 45

                                                                  Michael E. Bloom, Esq.
                                                                         January 9, 2023
                                                                                  Page 5


First, Request Number 17 says nothing about expert witnesses. It seeks the production of
documents Smartmatic obtained through the subpoena process. Second, the request is not
temporally unlimited. It seeks the production of a discrete set of documents produced to
Smartmatic during this pendency of this case. These meritless objections should be
withdrawn.

       F.    Request No. 22.

Request for Production Number 22 seeks the production of documents reflecting
communications with individuals who are representatives, employees, officers, or agents
of the government of Venezuela. Req. for Production #22. Smartmatic objected, stating
that it would not provide responsive documents until this request is narrowed in scope.

The Complaint alleges that Smartmatic’s reputation was damaged as a result of
statements made by Mr. Lindell. The Complaint is replete with references to
Smartmatic’s business activities in Venezuela and how Mr. Lindell’s statements about
those activities allegedly damaged Smartmatic. Compl. ¶¶ 143(j), 143 (n), 150(c), 170(b),
170(c), 170(d), 176(a), 176(b), 176(c), 176(d), 180. In fact, the Complaint touts that its
“voting solution in Venezuela [is] the best in the world.” Id. ¶ 295 (quotation marks
omitted).

There is nothing to narrow about this Request. Smartmatic seeks damages related to
statements purportedly made by Mr. Lindell tying Smartmatic to the government of
Venezuela. Smartmatic’s communications with representatives of that government are
therefore directly relevant to Smartmatic’s claim. This response must be supplemented.

III.   Conclusion.

We look forward to a productive meet and confer discussion on January 11, 2023.


                                                Sincerely,

                                                /s/ Matthew R. Eslick

                                                Matthew R. Eslick

MRE/jlt
Cc: Andrew D. Parker, Esq.
CASE 0:22-cv-00098-JMB-JFD Doc. 76-1 Filed 02/01/23 Page 43 of 45




                 EXHIBIT D
       CASE 0:22-cv-00098-JMB-JFD Doc. 76-1 Filed 02/01/23 Page 44 of 45
                                                                                         Julie M. Loftus
                                                                     71 South Wacker Drive, Suite 1600
                                                                          Chicago, Illinois 60606-4637
                                                                             Direct Dial: 312.624.6341
                                                                                    Fax: 312.767.9192
                                                                              jloftus@beneschlaw.com




                                                January 20, 2023



Matthew Eslick
888 Colwell Building
123 North Third Street, Suite 888
Minneapolis, MN 55401
Email: eslick@parkerdk.com

       Re:     Smartmatic USA Corp., et al. v. Lindell, et al.; Case No. 22-cv-00098

Dear Mr. Eslick:

        Following up on our meet-and-confer that took place on January 11, 2023, I write in
response to your letter dated January 9, 2023 regarding (1) Plaintiffs’ Answers and Objections to
Defendant My Pillow, Inc.’s First Set of Interrogatories (“Smartmatic’s Interrogatory Answers”)
and (2) Plaintiffs’ Responses to Defendant My Pillow, Inc.’s First Set of Requests for Production
of Documents and Things (“Smartmatic’s RFP Responses” and, together with Smartmatic’s
Interrogatory Answers, the “Discovery Responses”). The letter below, together with Smartmatic’s
Discovery Responses, summarizes Smartmatic’s positions regarding the production of potentially
relevant documents or information.

        Unless explicitly stated otherwise below, Smartmatic maintains its general and specific
objections as detailed in its Discovery Responses. Any agreement by Smartmatic to produce
documents or information shall be without prejudice to any objections Smartmatic may have as to
the relevance or admissibility of any information or document at hearing or trial.

                             Smartmatic’s Interrogatory Answers

       As set forth below, the parties discussed Smartmatic’s Interrogatory Answers in general
and with respect to specific Interrogatories.

       Contention Interrogatories. For Interrogatory Answers 2, 6, 7, 8, 9, 11, 12, 14, 15, 17,
18, and 19, Smartmatic will identify specific individuals likely to have discoverable information.

        Interrogatory Answer No. 16. Smartmatic explained that the jurisdictions listed in
Interrogatory Answer No. 16 each have an election management authority or similar entity with
which Smartmatic contracted for its electoral technology or services. Defendants stated that, with
this clarification, Smartmatic’s Answer to Interrogatory No. 16 is sufficient.

                                 Smartmatic’s RFP Responses

       The parties also discussed several of Smartmatic’s RFP Responses:


                                     www.beneschlaw.com
       CASE 0:22-cv-00098-JMB-JFD Doc. 76-1 Filed 02/01/23 Page 45 of 45
Matthew Eslick
January 20, 2023
Page 2


        RFP Response Nos. 1, 8, 10. At our meet-and-confer, Defendants did not narrow the scope
of their requests or make a counter-proposal to Smartmatic’s offer to produce documents in
response to RFP Nos. 1, 8, and 10.

       RFP Response Nos. 3 and 4. Following up on our meet-and-confer, Smartmatic will agree
to produce its communications with Dominion, ES&S, Unisyn Voting Systems, ClearBallot
Group, Hart InterCivic, Sequoia Voting Systems, Premier Solutions, Populex, and Vote-PAD from
January 1, 2020 to the present, to the extent they exist and can be located by a reasonable search.

        RFP Response No. 5. Following up on our meet-and-confer, Smartmatic agrees to produce
the case studies referenced in paragraph 32 of its Complaint to the extent they exist and can be
located by a reasonable search. Smartmatic will not produce all recommendations because, given
their limited probative value, searching for and producing them would be unduly burdensome.

        RFP Response No. 7. Following up on our meet-and-confer, Smartmatic agrees to produce
any communications between Smartmatic and the Republican National Committee or Democratic
National Committee from January 1, 2018 to the present, to the extent they exist and can be located
by a reasonable search.

      RFP Response No. 17. At our meet-and-confer, Defendants stated that Smartmatic’s
agreement to produce documents in Response to RFP No. 17 is sufficient.

        RFP Response No. 22. Following up on our meet-and-confer, Smartmatic will agree to
produce any communications between Smartmatic and Hugo Chavez or Nicolás Maduro, to the
extent they exist and can be located by a reasonable search. Additionally, Smartmatic will agree
to produce any communications between Smartmatic and members of the Chavez or Maduro
administrations or the Venezuelan government regarding the negotiation and formation of
contracts between the Venezuelan government and Smartmatic, to the extent they exist and can be
located by a reasonable search.



                                                 Very truly yours,

                                                 BENESCH, FRIEDLANDER,
                                                  COPLAN & ARONOFF LLP



                                                 Julie M. Loftus
JML:
